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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION
UNITED STATES OF AMERICA

         VS                                               CASE NO. 3:06cr458/RV

DAVID ESQUIVEL, ALEJANDRO
MILLAN, DAVID ARTHURO RAMIREZ
and ROLANDO GARCIA

                             REFERRAL AND ORDER

Referred to Senior Judge Roger Vinson on January 22, 2007
Motion/Pleadings: MOTION to sever the above defendants for jury trial
Filed by United States                   on 1/09/2007         Doc.#   37
RESPONSES:
  None                                   on                   Doc.#
                                         on                   Doc.#
        Stipulated           Joint Pldg.
        Unopposed            Consented
                                         WILLIAM M. McCOOL, CLERK OF COURT

                                         s/Jerry Marbut
LC (1 OR 2)                            Deputy Clerk: Jerry Marbut

                                   ORDER
Upon consideration of the foregoing, it is ORDERED this             23rd          day of
      January                , 2007, that:
(a) The relief requested is GRANTED.
(b)




                                        /s/ Roger Vinson
                                                       ROGER VINSON
                                           Senior United States District Judge
